                Case 1:24-mj-00496-WEF Document 1 Filed 12/13/24 Page 1 of 1 PageID# 1



                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Eastern District
                                                  __________         of of
                                                              District  Virginia
                                                                           __________

                     United States of America                        )
                                v.                                   )
                                                                     )        Case No. 1:24-MJ-496
                  Damaso Lopez-Serrano
                            a/k/a                                    )
    "El Mini Licenciado," "Mini Lic," "Dani," "Jose Daniel           )                    81'(56($/
        Lopez Hernandez," and "Damaso Lopez Jr."                     )
                                                                     )
                           Defendant(s)


                                                  CRIMINAL COMPLAINT
            I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of        September 2024 to present              in the city/county of                   Fairfax

in the           Eastern            District of          Virginia              , the defendant(s) violated:

                Code Section                                                    Offense Description
                                                                 &RQVSLUDF\WRGLVWULEXWHJUDPVRUPRUHRIDPL[WXUHDQGVXEVWDQFH
21, United States Code, Sections 841 and 846                     FRQWDLQLQJDGHWHFWDEOHDPRXQWRI1SKHQ\O1> SKHQ\OHWK\O SLSHULGLQ\O@
                                                                 SURSDQDPLGHNQRZQDVIHQWDQ\OD6FKHGXOH,,FRQWUROOHGVXEVWDQFH




            This criminal complaint is based on these facts:
           See Attached Affidavit.



            __________________________________________________________________________
                                                       _____________________________

             ✔ Continued on the attached sheet.
             ޭ
                        Reviewed by AUSA/SAUSA                                       Complainant’s signature
             AUSA James L. Trump
             _____________________________________                           FBI Special Agent Joseluis Felipe Ayala
                                                                          _____________________________________
                       Printed name and title                                       Printed name and title
   Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
    telephone                                                (specify reliable electronic means).

                                                                            Lindsey R Vaala Digitally signed by Lindsey R Vaala
                                                                                            Date: 2024.12.13 13:15:59 -05'00'
   Date: 12/13/2024
                                                                                                      Judge’s signature

   City and state:      Alexandria, Virginia                                  The Hon. Lindsey R. Vaala, U.S. Magistrate Judge
                                                                                                    Printed name and title
